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IN THE UNITED STATES DISTRICT COURT £D BY ”' D-C.
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION 05 AUG 23 AH lU= l l

 

CHUBB CUSTOM INSURANCE CO.,
Plaintiff,

vs. No. 05-2228 Ma./V

HARBOUR APARTMENTS, ]NC. d/b/a
MARINA COVE APARTMENTS,
TALIAFARO, INC., and WATER
GARDENS, LLC,

Defendants.

 

RULE 16(b) sCHEDULING 0RDER

 

Pursuant to the scheduling conference set by Written notice, the following dates have
been established as the final dates for:
INITIAL DISCLOSURES pursuant to Fed.R.Civ.P. 26(a)(l): Septemher 15, 2005
JOINING PARTIES: October 25, 2005
AMENDING PLEADINGS: October 25, 2005
INITIAL MOTIONS TO DISMISS: November 8, 2005
COMPLETING ALL DISCOVERY:
a) WRITTEN DISCOVERY: March 10, 2006
b) DEPOSITIONS: March 10, 2006
c) EXPERT DISCLOSURES (Rule 26)

l) Plaintiff‘s Rule 26 Expert: December 15, 2006

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with Ru‘.e 58 and/or 79{a) FHCP on

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2) Defendants' Rule 26 Expert: January 15, 2006
3) Expert Depositions: March 10, 2006
FILING DISPOSITIVE MOTIONS: April 10, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):
a) For Plaintiff: Thirty (30) days prior to trial

b) For Defendants: Twenty (20) days prior to trial

c) Pa.rties shall have ten 1101 days after service of opposition's final witness
and/or exhibit list to file objections under Rule 26(a)(3)

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery deadline All
motions, written discovery, or other filings that require a response must be filed
sufficiently in advance of the discovery deadline so as to enable opposing counsel to
respond by the time permitted by the Rules_ prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline
or within thirty 1301 days of the default or the service of the response, answer, or
objection if the default occurs within thirty (30) days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the
default, response, answer, or objection shall be waived.

The parties are reminded that, pursuant to Local Rule ll(a)(l)(A), all motions,
except motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60, must be accompanied by a
proposed order. The opposing party on any motion may file a response. Neither party
may file an additional reply, however, without leave of the court. If a party believes that
a reply is necessary, it must file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required.

This case is set for NON-IURY TRIAL and is expected to last 2 days. The district
judge will set the trial date, pretrial conference date, and deadline for pretrial order. The
attorneys will determine if the case is appropriate for ADR and will report to the Court
within one (l) week after the close of discovery.

The parties have not consented to trial before the magistrate judge.
This Scheduling Order has been entered after consultation with trial counsel

pursuant to notice. Absent good cause shown, the scheduling dates set by this Order will
not be modified or extended.

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IT IS SO ORDERED.
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Honorable Bime:l€r‘v‘escovo 'Tv. M -‘Plnqr»l
United States Magistrate Judge
Dated: _AUOU|©O(' A 3,/, &~€\G(
SUBMITTED BY:
FORD & HARRISON LLP

795 Ridge Lake Blvd., Suite 300
Mernphis, Tennessee 38120
(901) 291-1500

 

By: 1
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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02228 was distributed by fax, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

